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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

IN RE BIG LOTS, INC. Case No. 2:12-cv—445
SHAREHOLDER LITIGATION
Judge Michael H. Watson

Magistrate Judge Jolson

OPINION AND ORDER

Louisiana Municipal Police Employees’ Retirement System (“LAMPERS”)
and City of Atlanta Firefighters’ Pension Fund (“Atlanta Firefighters,” and
together with LAMPERS, “Lead Plaintiffs”), plaintiff Lorene Lamb (“Lamb,” and
together with LAMPERS and Atlanta Firefighters, the “Consolidated Plaintiffs”),
and additional plaintiff Alan Brosz (“Brosz,” and together with the Consolidated
Plaintiffs, “Plaintiffs”) move for an order granting final approval of a derivative
litigation settlement (“Settlement’)' with Defendants Jeffrey Paul Berger, Steven
S. Fishman, David T. Kollat, Brenda J. Lauderback, Philip E. Mallot, Russell Solt,
Dennis B. Tishkoff, Joe R. Cooper, Charles W. Haubiel Il, Timothy A. Johnson,
Robert Craig Claxton, John Charles Martin, Norman J. Rankin, Paul Alan
Schroeder, Robert Samuel Segal, and Steven Ray Smart (the “Individual
Defendants”), and nominal defendant Big Lots, Inc. (“Big Lots” or the

“Company,” and together with the Individual Defendants, the “Defendants’),

 

1 The Settlement is memorialized between the parties in a Stipulation and Agreement of
Settlement dated December 14, 2017. ECF No. 116-1.
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acting through its Special Litigation Committee (“SLC”). ECF No. 121. Plaintiffs
also move for an award of attorney's fees and expenses. ECF No. 122. Both
motions are unopposed. For the following reasons, Plaintiffs’ motions are
GRANTED.
I. BACKGROUND

The background of this case is laid out in great detail in the unopposed
motion for final approval, ECF No. 121, and does not need to be repeated in-
depth in this Opinion except as necessary to analyze the reasonableness of the
Settlement. As an initial overview, it suffices to say that Plaintiffs’ only remaining
claim against Defendants is for corporate waste by some of Big Lots’ current and
former officers and directors in connection with an alleged insider selling scheme
and stock repurchase plan. After multiple lawsuits were filed, protracted
discovery, rulings on some dispositive motions, and multiple rounds of mediation,
the parties agreed on the Settlement. On April 6, 2018, the Court preliminarily
approved the Settlement. ECF No. 120. On July 26, 2018, the Court held a
fairness hearing. The Court now considers whether final approval of the
Settlement is warranted.
A. The Proposed Settlement

The Settlement consists of two primary components: monetary relief and
corporate governance reforms. First, Defendants have agreed that Big Lots’
directors’ and officers’ insurance carriers will pay Big Lots $3.5 million.
According to Plaintiffs’ counsel, this payment represents a substantial percentage

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of the potential damages, which were estimated to be between $8.2 million and

$9.8 million. Joint Decl. ] 49, ECF No. 123. This money will be used to pay

Plaintiffs’ counsel's legal fees and expenses in this action as well as a portion of

the settlement in a separate class action lawsuit (the “Willis Class Action’).

Second, the parties have agreed that Big Lots will implement the following

corporate governance reforms:

Strengthening the Company’s Insider Trading Policy, including
implementing enhanced recordkeeping requirements for pre-clearance
requests and a requirement that the General Counsel reports to the
Nominating/Corporate Governance Committee on a semiannual basis
about the Company’s trading compliance program and related topics;

Continuing to maintain a claw back policy that empowers the
Compensation Committee of the Board of Directors to seek recovery of
any excessive incentive-based compensation paid to any employee whose
misconduct is found to have contributed to the Company’s having to
prepare an adverse accounting restatement;

Engaging an outside consultant to provide continuing education to the
Board of Directors on corporate governance topics including insider trading
and securities laws;

Enhancing the Company's Whistleblower Hotline procedures, including
requiring the Audit Committee to receive and memorialize a report
concerning any whistleblower complaint and follow-up action taken related
to insider trading; and

Amend the Company’s Corporate Governance Guidelines requiring all
directors to attend the Company's annual shareholder meeting in person.

Notice

Big Lots submitted the affidavit of Robert W. Trafford (“Trafford”), one of

the attorneys for the SLC. ECF No. 126. Trafford avers that Big Lots has

complied with the notice provisions of the Preliminary Approval Order by

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(a) Posting the Notice of Pendency and Proposed Settlement of
Stockholder Derivative Litigation (the “Notice”) and the Stipulation
and Agreement of Settlement (“Stipulation”) on its corporate
website on April 13, 2018, where they have remained
continuously since that date; and
(b) Filing the Stipulation and Notice as a Current Report on Form 8-K
with the United States Securities and Exchange Commission on
April 12, 2018 and posting the Form 8-K on its corporate website
on April 13, 2018 where it has remained continuously since that
date.
ld. at 1-2. The Court finds that there was sufficient notice provided to
shareholders pursuant to Federal Rule of Civil Procedure 23.1.
ll. APPROVAL OF THE PROPOSED SETTLEMENT
This derivative action may only be settled with the Court's approval. Fed.
R. Civ. P. 23.1(c). The Court “enjoys wide discretion in evaluating the settlement
of derivative actions under Rule 23.1.” McDannold v. Star Bank, N.A., 261 F.3d
478, 488 (6th Cir. 2001) (citing Granada Invs., Inc. v. DWG Corp., 962 F.2d
1203, 1205-06 (6th Cir. 1992)). “Settlements are welcome’ in derivative actions
and, “[aJbsent evidence of fraud or collusion, such settlements are not to be
trifled with.” Granada, 962 F.2d at 1205 (citations omitted). Relevant factors in
evaluating the settlement “include the likelinood of success on the merits, the risk
associated with the expense and complexity of litigation, and the objections
raised by class members.” /d. This Court has, on at least one occasion, also
considered the other Rule 23(e) factors in determining whether a derivative
action settlement should be approved. McDannold v. Star Bank, N.A., No. C-1-

94-002, 1999 U.S. Dist. LEXIS 22158, at *13 (S.D. Ohio June 2, 1999) (also

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considering the amount of discovery conducted, whether the settlement was the
result of an arms-length negotiation as opposed to fraud or collusion, and the
opinion of counsel representing the parties), vacated on other grounds, 261 F.3d
478 (6th Cir. 2001). Based on all of these factors, the Court determines that the
Settlement is fair, reasonable, and adequate.

A. Likelihood of Success on the Merits

“The most important of the factors to be considered in reviewing a
settlement is the probability of success on the merits. The likelihood of success,
in turn, provides a gauge from which the benefits of the settlement must be
measured.” Poplar Creek Dev. Co. v. Chesapeake Appalachia, L.L.C., 636 F.3d
235, 245 (6th Cir. 2011) (quoting /n re Gen. Tire & Rubber Co. Sec. Litig., 726
F.2d 1075, 1086 (6th Cir. 1984)).

Both in the motion for final approval and at the fairness hearing, Plaintiffs
asserted that they faced significant risks to successfully prosecuting their claims,
including defeating the SLC’s motion to dismiss and demonstrating Defendants’
bad faith breaches of duty and resulting corporate waste. Mot. 21, ECF No. 121.
Defendants assert in their motion to dismiss that the SLC’s determination that it
was not in Big Lots’ best interest to pursue a corporate waste claim is entitled to
great deference. Mot. to Dismiss 20, ECF No. 100. Plaintiffs go so far as to
state in their motion for final approval that their corporate waste claim “would
have been exceptionally difficult to prove.” Mot. 18, ECF No. 121. Defendants
were already successful on some dispositive motions in this case and had

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winnowed down the claims brought to only corporate waste. The likelihood of
success for Plaintiffs was far from assured. Thus, this factor weighs in favor of
approval of the Settlement.

B. Complexity, Expense, and Likely Duration of the Litigation

As the Sixth Circuit has noted, derivative actions are “notoriously difficult
and unpredictable.” Granada, 962 F.2d at 1205 (quoting Maher v. Zapata Corp.,
714 F.2d 436, 455 (5th Cir. 1983)). “[A]voiding the delay, risks, and costs of
continued litigation against a defendant is a valid reason for counsel to
recommend and for the court to approve a settlement.” /n re Nationwide Fin.
Servs. Litig., No. 2:08-cv-249, 2009 U.S. Dist. LEXIS 126962, at *10 (S.D. Ohio
Aug. 18, 2009).

This litigation has already lasted several years. Absent settlement,
continued litigation of this case would likely take more than a year and result in
the parties incurring significant expense. There is a pending motion to dismiss,
which would likely be followed by motions for summary judgment, expert
discovery and Daubert motions, and a complex trial. Additionally, the parties are
represented by very sophisticated counsel that would undoubtedly vigorously

prosecute and defend the claims in this case. This supports settlement.

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C. Objections Raised by Shareholders

After having provided sufficient notice, no shareholder objected to the
settlement. This is strong evidence that shareholders believed the settlement to
be fair, reasonable, and adequate.

D. The Amount of Discovery Engaged in By the Parties

To confirm that Plaintiffs “have had access to sufficient information to
evaluate their case and to assess the adequacy of the proposed Settlement,” the
Court considers the amount of discovery engaged in by the parties. in re
Broadwing, Inc. ERISA Lifig., 252 F.R.D. 369, 374 (S.D. Ohio 2006). “In
considering whether there has been sufficient discovery to permit the plaintiffs to
make an informed evaluation of the merits of a possible settlement, the court
should take account not only of court-refereed discovery but also informal
discovery in which parties engaged both before and after litigation commenced.”
UAW v. Gen’l Motors Corp., No. 05-CV-73991-DT, 2006 WL 891151, at *19 (E.D.
Mich. Mar. 31, 2006). In this consideration, “the absence of formal discovery is
not unusual or problematic, so long as the parties and the court have adequate
information in order to evaluate the relative positions of the parties.” /d.

The document production in this case totaled nearly 1,000,000 pages of
documents. Mot. 17, ECF No. 121. The discovery process was hard fought at
times, requiring multiple meetings between the parties and court resolution of

some of the disputes. There has been no indication that Plaintiffs lacked

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information necessary to assess the strength of their case, which supports
approval of the Settlement.

E.  Arm’s-Length Negotiation

The Court finds that there is no evidence—or even a suggestion—that the
settlement was the product of fraud or collusion. See JUE-CWA v. Gen. Motors
Corp., 238 F.R.D. 583, 598 (E.D. Mich. 2006) (“Courts presume the absence of
fraud or collusion unless there is evidence to the contrary.”). The Settlement is
the result of arm’s-length, well-researched, and protracted negotiations that took
place over the course of multiple years and involved at least two different
mediation sessions with Robert A. Meyer, Esq., an experienced mediator. This
favors approval of the Settlement.

F. The Opinion of Counsel

The Court gives significant weight to the opinions of Plaintiffs’ counsel,
who have indicated that the Settlement is fair, reasonable, and adequate. See,
e.g., Williams v. Vukovich, 720 F.2d 909, 922-23 (6th Cir. 1983) (“The court
should defer to the judgment of experienced counsel who has competently
evaluated the strength of his proofs . . . . [T]he deference afforded counsel
should correspond to the amount of discovery completed and the character of the
evidence uncovered.”). The SLC’s counsel has also expressed the opinion that
the Settlement benefits the Company. See Joint Decl. 55, ECF No. 123.

In this case, Class Counsel have extensive experience in complex
shareholder derivative and class action litigation and corporate matters. See

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generally ECF Nos. 123-25 (providing years of experience and background of
counsel). After significant discovery and protracted arm’s-length negotiations,
the parties reached the Settlement. Equipped with extensive experience,
counsel have concluded that the Settlement is a good result for Plaintiffs and the
Company. The Court therefore finds that this factor favors approval of the
Settlement.

After considering the relevant factors, the Court APPROVES the
Settlement.

lll. ATTORNEY’S FEES AND COSTS

A.  Attorney’s Fees

Plaintiffs’ counsel has moved for an award of attorney’s fees and costs.
ECF No. 122. Defendants do not oppose the motion. In order to assess the
reasonableness of the fee request, the Court first determines the method
Plaintiffs’ counsel used to calculate the fee. In this case, Plaintiffs are seeking a
percentage of the fund award. Specifically, Plaintiffs’ counsel seeks $1.25 million
in fees, which represents 35.7% of the $3.5 million monetary settlement. Fee
Mot. 8, ECF No. 122.

Next, the Court must analyze the factors laid out in Ramey v. Cincinnati
Enquirer, Inc., which include:

1) the value of the benefit rendered to the corporation or its
stockholders, 2) society's stake in rewarding attorneys who
produce such benefits in order to maintain an incentive to others,
3) whether the services were undertaken on a contingent fee
basis, 4) the value of the services on an hourly basis, 5) the

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complexity of the litigation, and 6) the professional skill and
standing of counsel involved on both sides.

508 F.2d 1188, 1196 (6th Cir. 1974). Each of these factors favors approval of
the requested attorney fee award.

First, the Court finds that the Settlement confers a substantial benefit on
Plaintiffs. As discussed above, the $3.5 million payment represents a substantial
percentage of the potential recovery in this case. Furthermore, as described
both in the motion for finai approval of the Settlement and at the fairness hearing,
the corporate governance reforms that are included in the Settlement will be
meaningful in preventing any future misconduct by Big Lots’ officers and
directors.

Second, society’s stake in rewarding attorneys who produce such benefits
supports an award of the requested attorney's fees. It is certainly in society’s
interest to have fiduciary laws and regulations enforced. If experienced counsel,
such as the attorneys who represented Plaintiffs here, were unwilling to take on
derivative action lawsuits for fear of not being compensated, it would be more
difficult to enforce accountability for officers and directors.

Third, Plaintiffs’ counsel agreed to undertake this case on a wholly
contingent basis. See Fee Mot. 18, ECF No. 122. In doing so, Plaintiffs’ counsel
assumed 4 real risk by expending time, effort, and money over a period of
approximately six years with no guarantee of recovery. This factor weighs in

favor of approving the requested fee award.

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The Court next considers whether the fourth factor, the value of the
services on an hourly basis, favors the proposed fee award. A cross-check using
Plaintiffs’ counsel’s lodestar weighs in favor of granting the requested fee award.
Plaintiffs’ counsel has provided evidence that they devoted 6,016.06 hours to this
case and incurred a total lodestar of $2,843,323.50. Joint Decl. | 60, ECF No.
123. The Court has reviewed the declarations of Plaintiffs’ counsel and finds the
blended rate charged and hours incurred to be reasonable based on the location
and experience of counsel.? Therefore, the requested lodestar multiplier with
respect to fees is approximately 0.44. In other words, Plaintiffs’ counsel is taking
a substantial discount on their fees as a result of the contingent fee nature of
their representation, which strongly supports approval. See Kritzer v. Safelite
Sols., LLC, No. 2:10-—cv—0729, 2012 WL 1945144, at *10 (S.D. Ohio May 30,

2012) (“As for the value of the services rendered on an hourly basis, this factor

 

2 On August 24, 2018, well after the time to object and the fairness hearing took place,
the Court received an email from Michael Hartlieb (“Hartlieb”), a shareholder who had
an interest in a different case involving The Weiser Law Firm, P.C. (“Weiser”). In his
email, Hartlieb raised concerns over Weiser's billing practices in this prior case and
stated that he wanted to inform the Court so that it could scrutinize the fee request in
this case. Hartlieb does not indicate that he is a shareholder in Big Lots or otherwise an
interested party in this case. Furthermore, the Court always scrutinizes the billing
records of plaintiffs’ counsel before approving fee awards. Nevertheless, out of an
abundance of caution, the Court re-reviewed Weiser’s billing entries in this case and
sees no similarities to the billing issues that may have occurred in the case involving
Hartlieb. The Court held a teleconference with the parties on August 24, 2018, on which
James Ficaro, one of the attorneys from Weiser, was afforded the opportunity to

respond to Hartlieb’s email. The Court is fully satisfied that the hours billed by Weiser
were reasonable in this case.

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strongly favors the fee requested . .. . The amount of fees requested . . . is less
than what the fee would be under a lodestar calculation.”).

The remaining two factors, the complexity of the litigation and the
professional skill and standing of the attorneys involved, has been discussed
above and also supports approval of the attorney's fee request.

For all of these reasons, the Court concludes that Plaintiffs’ counsel’s
request for $1.25 million in attorney’s fees is reasonable.

B. Expenses

“Under the common fund doctrine . . . counsel is entitled to reimbursement
of all reasonable out-of-pocket expenses and costs in the prosecution of claims,
and in obtaining settlement, including but not limited to expenses incurred in
connection with document productions, consulting with and deposing experts,
travel and other litigation-related expenses.” In re Cardizem CD Antitrust Litig.,
218 F.R.D. 508, 532 (E.D. Mich. 2003).

Plaintiffs’ counsel has provided documentation to support $46,740.59 in
expenses in prosecuting this action. These expenses include, among other
things, mail costs, meals, lodging, transportation, legal research, copying costs,
telephone expenses, and court filing fees. See Joint Decl. Exs., ECF No. 123.
These types of expenses are reasonable and necessary, and therefore entitled to
reimbursement. Rikos v. P&G, No. 1:11-cv-226, 2018 U.S. Dist. LEXIS 72722, at
**27-28 (S.D. Ohio April 30, 2018).

IV. CONCLUSION

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For the foregoing reasons, the Court GRANTS the unopposed motion for
final approval of the settlement, ECF No. 121, GRANTS the unopposed motion
for an award of attorney’s fees and expenses, ECF No. 122, and ORDERS as
follows:

1. The Settlement is a fair, reasonable, and adequate resolution to this
case for all parties, and is finally approved;

2. To the extent not already done, the parties are ORDERED to
perform under the terms of the Settlement;

3. Plaintiffs’ counsel are awarded $1,250,000 in attorney's fees and
$46,740.59 in expenses, which shall be paid to lead counsel for distribution in
accordance with the Settlement;

4. The Court retains jurisdiction over this matter for purposes of
enforcing the Settlement;

5. This action is DISMISSED with prejudice, with each party to bear

its own costs, except as described above. The Clerk is DIRECTED to enter

MICHAEL H. WATSON, JUDGE _
UNITED STATES DISTRICT COURT

FINAL JUDGMENT.

IT IS SO ORDERED.

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